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                       UNITED STATES DISTRICT COURT                                              r:A~:2~4~:;19 -)                              I
                    SOUTHERN DISTRICT OF CALIFORN                                                L-·---·---... _______J                        I
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UNITED STATES OF AMERICA,
                                              COMPLAINT FOR VIOLATION OF
                                              Title 21, U.S.C., Secs. 841(a)(l) and 846
                          vs.                 - Conspiracy to Distribute Hashish Oil;
                                              Title 21, U.S.C., Sec. 841(a)(l) -
ADAM LEDESMA (1),                             Manufacture of Hashish Oil; Title 18
JARED HOFFMANN (2),                           U.S.C. Sec. 2 - Aiding and Abetting;
                                              and; Title 21, U.S.C., Sec. 858(a)(l)-
                                              Endangering Human Life While
                     Defendants.              Manufacturing a Controlled Substance;
                                              Title 21, U.S.C., Sec. 853; Title 18,
                                              U.S.C. Sec. 924(d)(l), and Title 28,
                                              U.S.C., Sec. 2461(c) -          Criminal
                                              Forfeiture



      The undersigned complainant being duly sworn states:
                                        Countl
      Beginning at a date unknown and continuing up to and including May 23, 2019,
within the Southern District of California, and elsewhere, defendants ADAM LEDESMA
and JARED HOFFMANN, did knowingly and intentionally conspire together and with
each other and with other persons known and unknown, to distribute 100 kilograms and
more of a mixture or substance containing a detectable amount of marijuana, to wit: 166
kilograms of hashish oil containing tetrahydrocannabinols, a Schedule I Controlled
Substance; in violation of Title 21, United States Code, Sections 841(a)(l) and 846.
                                        Count2
      On or about May 23, 2019, within the Southern District of California, defendants
ADAM LEDESMA and JARED HOFFMANN, did knowingly and intentionally
manufacture 100 kilograms and more of a mixture or substance containing a detectable
amount    of marijuana,     to   wit:   166       kilograms            of hashish                oil          containing

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tetrahydrocannabinols, all Schedule I controlled substances; in violation of Title 21,
United States Code, Section 841(a), and Title 18, United States Code, Section 2.


                                          Count3
      On or about May 23, 2019, within the Southern District of California, defendants
defendants ADAM LEDESMA and JARED HOFFMANN, did knowingly and
intentionally manufacture 100 kilograms and more of a mixture or substance containing
a detectable amount of marijuana, to wit: 166 kilograms of hashish oil containing
tetrahydrocannabinols, a Schedule I controlled substance, and in doing so, created a
substantial risk of harm to human life; in violation of Title 21, United States Code, Section
858, and Title 18, United States Code, Section 2.
                                  Forfeiture Allegations
     1.     The allegations contained in Counts 1 through 3 are realleged and by their
reference fully incorporated herein for the purpose of alleging forfeiture to the United
States of America pursuant to the provisions of Title 21, United States Code, Section 853,
Title 18, United States Code, Section 924(d)(l ), and Title 28, United States Code, Section
2461(c).
      2.     Upon conviction of one or more of the felony offenses alleged in Counts 1
through 3 of this complaint, said violations being punishable by imprisonment for more
than one year and pursuant to Title 21, United States Code, Section 853(a)(l) and
853(a)(2), defendants ADAM LEDESMA and JARED HOFFMANN, shall forfeit to the
United States all their rights, title and interest in any and all property constituting, or
derived from, any proceeds the defendants obtained, directly or indirectly, as the result of
the offenses, and any and all property used or intended to be used in any manner or part
to commit and to facilitate the commission of the violations alleged in this indictment.
      3.     If any forfeitable property, as a result of any act or omission of the defendants
      (a)    cannot be located upon the exercise of due diligence;
      (b)    has been transferred or sold to, or deposited with, a third party;

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      (c)    has been placed beyond the jurisdiction of the Court;
      (d)    has been substantially diminished in value; or
      (e)    has been commingled with other property which cannot be subdivided
without difficulty;
      it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p), to seek forfeiture of any other property of the defendants up to the value of the
said property subject to forfeiture.
      This complaint is based on the facts in the attached probable cause statement, which
is incorporated herein by reference.


Sworn to before me and subscribed in my presence, this     13 day of May, 2019.




                  Lopez
                 agistrate Judge




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                                   Statement of Facts

I, James Gillis, being duly sworn, declare under penalty of perjury that the following
statement is true and correct:
                                 Training and Expertise

      I am a federal law enforcement officer within the meaning of Rule 41(a)(2)(C) of
the Federal Rules of Criminal Procedure. I am authorized under Rule 41(a) to make
applications for search and seizure warrants and to serve arrest warrants. I am
authorized to investigate violations of laws of the United States and to execute warrants
issued under the authority of the United States.
      I have been employed by the United States Department of Justice, Drug
Enforcement Administration (DEA), as a Special Agent since June 2018. I am presently
assigned to the DEA San Diego Field Division, Enforcement Group 2. During the
course of my employment as a DEA Special Agent, I have participated in narcotics
investigations either as a case agent or in a supporting role. I have debriefed defendants,
confidential sources, and witnesses who had personal knowledge regarding narcotics
trafficking organizations. In addition, I have discussed the methods and practices used
by narcotics traffickers with numerous law enforcement officers and confidential
sources. I have also participated in many aspects of drug investigations, including but
not limited to, undercover or confidential source buy operations, telephone toll analysis,
records research, physical and electronic surveillance activities, and wiretap
investigations.
      Through my training and experience, and my conversations with other agents and
officers who conduct drug investigations, I have become familiar with narcotics
traffickers' use of mobile telephones, and their use of codes and code words to conduct
their activities. I have become familiar with the manner in which controlled substances
are packaged, marketed and consumed. I am familiar with the ordinary meaning of
controlled substance slang and jargon and also with the manners and techniques of drug
traffickers as practiced locally. Also, I have become familiar with narcotics traffickers'
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methods of operation, including but not limited to the manufacturing, distribution,
storage, and transportation of narcotics, and the methods used by drug traffickers to.
collect, transport, safeguard, remit, and/or launder drug proceeds.
      I have personally participated in the investigation of the Drug Trafficking
Organization discussed in this affidavit. The following is based on my own
observations, the statements and written reports by other law enforcement officers,
physical surveillance, interviews, subpoenaed and public records, database checks,
telephone analysis, and other investigative techniques.
      This affidavit is intended to show that there is probable cause for the requested
complaint and does not purport to set forth all of my knowledge of the investigation of
this matter. All dates and times are best approximations.


                   Butane Hash I Honey Oil (BHO) Manufacturing

      Butane hash oil or honey oil (BHO) is typically a waxy, oily substance, usually
yellow in color. It can be vaporized ("dabbed"), with the use of electronic cigarettes and
other vaporizing devices, allowing the user to inhale the concentrated active
tetrahydrocannabinol (THC). It is also easy to add to foodstuffs, creating "edibles" (or
so-called "medibles" in the medical marijuana context), or solidified to make
concentrated forms of cannabis known as "wax." BHO can be made using a number of
different processes.
      Concentrated cannabis extraction functions on the solubility of the cannabinoids.
Tetrahydrocannabinol (THC) is one of many cannabinoids found in the marijuana plant
and is targeted for extraction. In cannabis concentrate extraction, solvents are the
chemicals used to dissolve the cannabinoids contained in the resin glands of the
cannabis plant. As the solvents pass through the plant material, they carry any dissolved
plant oils to a collection vessel where the separated oils can be isolated. The preferred
hydrocarbon solvent used is N-Butane. Butane dissolves organic oils very effectively



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and evaporates at room temperature leaving the desired targeted THC cannabinoid
behind.
      Butane is highly flammable, odorless, colorless and heavier than air. Once
released, it can seep into low-lying areas and sit there for a period of time. When
sufficiently concentrated, any spark or other ignition source can cause a significant
explosion. Butane comes in canisters that contain the gas in a pressurized and
compressed fashion. This means that if a primary explosion occurs during the process,
any unused butane canisters nearby can cause serious secondary explosions.
      Ethanol, also called ethyl alcohol, is a toxic, volatile, highly flammable colorless
liquid and vapor that can cause skin and eye irritation and may also cause respiratory
irritation. Ethyl alcohol is utilized as a solvent in the refining process of raw
concentrated cannabis to remove fats, lipids, and any extra butane. Improper handling
of raw concentrated cannabis in freezers has previously resulted in explosions.
Equipment utilized in the manufacturing/refining/distillation process of raw
concentrated cannabis, include: industrial freezers/chillers, commercial roto-
evaporators, distillers, heating mantels, 5 gallon buckets, scales, and laboratory
glassware. In addition, the improper disposal of waste products from the
manufacturing/refining/distillation process creates a risk due to the level of hazardous
materials remaining in the waste products.
      As this activity has spread over the last year or so, there has been a veritable
epidemic of explosions, both in San Diego County and across the country. In the past
three weeks, law enforcement has dismantled 6 hash oil labs (2 of which resulted in
explosions with 4 individuals hospitalized) in San Diego County. Several explosions in
recent years have been in residential areas where there has been a serious risk of injury
to innocent bystanders (including children). Most of the explosions result in property
damage as well as serious injuries and the occasional fatality. Since May 2018, DEA
agents and Task forces officers have responded to 40 concentrated cannabis labs in San
Diego County.

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      In fact, SD County HAZ-Mat and SD Fire Haz-Mat crews participated in the
execution on May 23, 2019 of the search warrant discussed below. Due to combustible
gas readings being at 10% or higher, which triggered an alarm on the combustible gas
meter, agents had to ventilate the concentrated cannabis facility before proceeding with
the court-authorized search. In an enclosed area, under OSHA guidelines, a
combustible gas reading of 1Oo/o or higher requires ventilating, reassessing for danger,
and awaiting gas readings at a safe level.


INVESTIGATION OF MANUFACTURING AND DISTRIBUTION OF
CONCENTRATED CANNABIS AT TARGET LOCATION

      On May 14, 2019, two commercial-sized dumpsters had been placed in the
loading dock area of7648 Lemon Avenue, Lemon Grove, California ("Target
Location") for pick up. After the dumpsters had been picked up for disposal, I sorted
through them. I discovered approximately forty-two (42) paint bucket lids, eleven (11)
five gallon paint buckets, and seven (7) stainless steel pots all containing substantial
amounts of a sticky residue similar to that of concentrated cannabis (see photograph
below). Based on my training, experience, and consulting with other agents'
experienced with BHO investigations, I believe this residue to be derived from the
extraction of concentrated cannabis. It is very common for concentrated cannabis to be
transported in five (5) gallon buckets, identical to the ones I found in the trash at the
Target Location. Additionally, there were numerous one (1) liter plastic measuring cups
also containing the sticky residue believed to be derived from concentrated cannabis.
There were several rags saturated in what is believed to be the fat that is refined out of
the crude concentrated cannabis. The fat is refined out of the crude concentrated
cannabis by utilizing alcohol. I found approximately thirteen ( 13) empty bottles of
isopropyl alcohol that were disposed of in the same dumpster. I also found mouth
pieces and other components that when assembled produce "vape pens." Vape pens are
utilized as a delivery device for the refined concentrated cannabis.


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      Based on my training, experience, and consulting with other agents' experienced
with BHO investigations, coupled with the contents of the trash, all of the items found
in the trash were indicative of a concentrated cannabis refinery lab where raw
concentrated cannabis was refined into a usable form. The usable form of concentrated
cannabis is then put into vape cartridges usually in the amount of approximately one ( 1)
gram per vape cartridge.
      The warehouse facility located at Target Location is a two story building zoned
for commercial/manufacturing use. I estimate the square footage of the building to be
approximately 5,600 square feet. Based on my observations from surveilling the facility
on numerous occasions, there are no visible indications of commercial or manufacturing
operations operating out of the building. The first floor has a roll up door with a very
large open bay area that I have observed at least three vehicles parked inside. The area is
large enough for vehicles to maneuver around inside without having to exit the facility.
Notwithstanding the lack of visible commercial/manufacturing operations, based on my
training, experience, and consulting with other agents' experienced with BHO
investigations, there is excessive energy use as outlined below:
      Records were obtained from San Diego Gas & Electric [SDG&E]. The following
table shows the electrical usage history for the last 12 months, in kilowatt-hours per
month, at Target Location.


 DATE

 04/21/19 10,400
 03/20/19 7,859
 02/19/19 16,875
 01/19/19 14,724
 12/18/18   15,761
 11/18/18    13,593

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 10/18/18    9,533
 09/18/18    10, 193
 08/18/18 8,448
 07/18/18 5,249
 06/18/18 5,692
 05/18/18 5,530

Based on my training, experience, and consulting with other agents' experienced with
BHO investigations, coupled with the facts of this case, the electrical usage at the Target
Location was excessive and consistent with the amount of electricity required to operate
equipment commonly used for concentrated cannabis extraction and/or indoor
marijuana cultivation. Equipment that draws this type of electrical currency is namely,
but not limited to, high wattage lights and ballasts, circulation fans, exhaust blowers,
pump systems, roto-evaporators, and other commercial distillation equipment.
      In order to obtain a California State Commercial Cannabis Activity License, the
California Medicinal and Adult-Use Cannabis Regulation and Safety Act requires that
the licensee first obtain a license, permit, or other authorization from the local
jurisdiction, and not to violate the local jurisdiction's regulations or ordinances. Based
on my conversation with a code compliance officer for the City of Lemon Grove,
California, there are enacted city ordinances that ban commercial cannabis cultivation
and Type-6 and Type-7 cannabis manufacturing licenses in Lemon Grove, California.
      Agents regularly surveilled the Target Location over the past month, and were
able to identify at least two (2) individuals who routinely accessed the building utilizing
a key to enter the front door as well as drive their vehicles into the building. One of
these individuals I identified as Adam LEDESMA. I also identified another individual
as Jared HOFFMANN. On multiple occasions, Adam LEDESMA, along with Jared
HOFFMAN, generally arrived at the Target Location in separate vehicles between
approximately the hours of 8:00- 10:00 A.M., and departed the Target Location
between approximately the hours of 4:00- 7:00 P.M.
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Execution of Search Warrant at 7648 Lemon Avenue, Lemon Grove, CA

      On May 23, 2019, DEA agents executed a court-authorized search warrant at the
Target Location, which revealed it served as a concentrated cannabis
manufacturing/refinery/distillation facility and arrested Adam LEDESMA and Jared
HOFFMANN. SD County HAZ-Mat and SD Fire Haz-Mat crews responded to the
scene due to the dangerous levels of combustible gases present at the Target Location.
After extensively ventilating the concentrated cannabis facility at the Target Location
for approximately 30 minutes, agents proceeded with the court-authorized search.
      DEA agents seized approximately 166 kilograms of distilled concentrated
substance, which based on my training, experience, and consulting with other agents'
experienced with BHO investigations, is suspected of being hashish oil containing
tetrahydrocannabinols, a Schedule I Controlled Substance from the Target Location. In
addition, the following is a partial list of items seized from the Target Location: one (1)
Pope Scientific Distiller (stand-up distillation unit), four (4) commercial roto-
evaporators, Cascade Sciences Duel Ovens, one ( 1) Chemtech Services Distillation
System, numerous Julabo Industrial Chillers and six (6) fifty-five gallon drums of 200
proof ethanol alcohol. Several photographs of the items found at Target Location are
below:




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       ETHYL ALCOHOL 200 PROOF
        ABSOLUTE, ANHYDROUS ACS/USP GRADE
                                         Grain Delived Ethanol
         CATALOGNO: 111000200                                            PACKMllllG SIZE: 55 GallonS
                                                                         NET WE1GllT:       363.5 lbs
         LOT NO: C18F18002                                               PROOF GALLONS:        1100
         WINE GALLONS: 55.0                                               PROOF:                 100

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      Jared HOFFMANN, who had been previously observed on multiple occasions at
Target Location, was encountered on May 23, 2019 by law enforcement in the loading
bay for the Target Location. HOFFMANN was in possession of a key to the front door
of the Target Location. Agents made entry into the Target Location utilizing the keys
obtained from HOFFMANN. Adam LEDESMA, who had also been previously
observed on multiple occasions at the Target Location, was encountered inside the
concentrated cannabis facility on May 23, 2019 by law enforcement. LEDESMA was
found inside a large room where refinery/distillation equipment was running, such as the
vacuum purge ovens, ( 1) roto-evaporator and ( 1) standup distillation machine.
At approximately 9:04 A.M., I provided HOFFMANN his Miranda warnings, which he
waived and agreed to answer questions. HOFFMANN stated that he had been working
at the Target Location for approximately one (1) year, and was recruited to work at the
Target Location by Adam LEDESMA. HOFFMANN further explained to agents that
ledgers inside of the Target Location were maintained, and reflected how much raw
concentrated cannabis was being brought into the facility, as well as how much distilled
concentrated cannabis was being produced. HOFFMANN explicitly stated to agents that
the Target Location was a concentrated cannabis distillery. I provided LEDESMA his
Miranda warnings and he invoked his right to counsel.


CONCLUSION

      Based on my training and experience, the above factors lead me to believe that
Adam LEDESMA and Jared HOFFMANN were involved in a conspiracy to distribute,
and manufacture concentrated cannabis containing THC, and endangering human life
while manufacturing a controlled substance.




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